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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Lionel Shaw, : Chapter 13
Debtor : Case No. 23-12827-djb

CERTIFICATION OF DEFAULT

I, Stephen V. Bottiglieri, Esquire, attorney for Movant, Delaware County Tax Claim
Bureau, certify that Debtor has defaulted upon the terms of the Stipulation of Settlement of the
Motion for Relief regarding as 1218 Angora Avenue, Yeadon Borough, Delaware County,
Pennsylvania bearing folio number 48-00-00047-00 at Doc. 42 and approved by this Court on May
1, 2024 at Doc. 43.

It is further certified that the attached Notice dated March 14, 2025 was served upon
Debtor, the non-filing Co-Owner/Co-Debtor, and Debtor’s Attorney on March 14, 2025.
Subsequent to said Notice, the Debtor and Co-Owner/Co-Debtor have failed to cure the default.
Accordingly, the Court shall enter the attached Order granting the Moving Party relief from the
Automatic Stay with a provision, as requested in the Motion for Relief, that no future bankruptcy
case filed within two years of the date of the Order will act as an automatic stay with regards to
the subject property as set forth in in the attached proposed order.

TOSCANI, STATHES & ZOELLER, LLC

ao -g L, rN
Date: April 1, 2025 BY: __/s/Stephen V. Bottigli¢ri
Stephen V. Bottiglieri, Esquire

Attorney for Delaware County Tax Claim Bureau
899 Cassatt Road, Suite 320
Berwyn, PA 19312

P 610-647-4901
sbottiglieri@tszlegal.com

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OTT Page 2 of 5 .
TOSCANI, STATHES & ZOELLER, LLC
ATTORNEYS AT LAW
Tuomas F. Toscanr* 400 BERWYn Park Additional Offices
Marrnew G. Barnon* 899 CassatT Roab, Surre 320 Treeeenee
Nicnoias W. Srarues** BERWYN, PA 19312 200 N. Jackson Street
Anprew W, Zoeiier** : Media, Pa. 19063
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Ropert A. Avciair®* FAX: 610-647-4985 Elkton, MD 21921
* Member PA & FL Bar www. TSZLeeal.com
+ Member MD Bar
++ Member PA & NJ Bar ‘ “
** Of Counsel: Member PA, NI & DC Bar March 14, 2025
VIA EMADL ONLY VIA FIRST-CLASS MAIL ONLY
Brad J. Sadek, Esquire Lionel C. Shaw
Sadek Law Offices, LLC 1218 Angora Drive
1500 JFK Blvd, Ste 220 Yeadon, PA 19050

Philadelphia, PA 19102

RE: In re: Lionel C. Shaw, Chapter 13 Case No. 23~-12827-djb
1218 Angora Avenue, Yeadon, Folio No.: 48-00-00014-06
Notice of Default of Stipulation of Settlement

Dear Mr. Sadek and Mr. Shaw:

This letter is a Notice of Default for failure to pay the 2024 real estate taxes due on 1218
Angora Avenue as required by the Stipulation of Settlement resolving the Delaware County Tax
Claim Bureau’s Motion for Relief in the above matter. A copy of the 2024 taxes are enclosed.

To cure this default, payment of $5,627.12 must be received by the Delaware County Tax
Claim Bureau on or before March 31, 2025. Payment by certified funds or money order
should be remitted to:
Delaware County Tax Claim Bureau
Government Center Building
201 W. Front Street
Media, PA 19063

If the required payment is not made, our office will certify the default with the Court as
permitted by the Stipulation.

Thank you for your time and attention to this Notice of Default.
Very truly yours,

TOSCANI, STATHES & ZOELLER, LLC

BY: RELA tattle

Stepheft V. Bottiglieri

Enel,
cc! Stephanie Tindley (w/encl.)
Delaware County Tax Claim Bureau
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DELAWARE COUNTY TAX CLAIM BUREAU ESTIMATED TAX STATEMENT DTS20PADEL

Rev. 07/18
Delq Year: 2024 Type: ANNUAL Cart:
Parcel No: 48-G0-00047-00
Owner? > TINDLEY STEPHANIE & Owner2: SHAW LIONEL
Property Location : 1218 ANGORA AVE Desc: 1 STY HSE/GAR
Date : 03/04/2025 Balance Due as of: 08/2025
EERE DELINQUENT REAL ESTATE TAXES
BILLING PENALTY INTEREST TOTAL DUE
COUNTY CHG 4711.70 ALA? 3.46 456.27
ASSMT: 130740 PAYIADJ 0.00 6.00 0.00 0.00
NET 471.70 41.47 3.40 456.27
SCHOOL CHG 3,453,33 345,33 28.49 3,827.15
ASSMT 130740 PAYIADJ 0.00 0.00 0.00 0.00
NET 3,453.33 345,33 28.49 3,827.15
MUNICIPALITY CHG 1,154.70 115.47 9,53 1,279,760
ASSMT: 130740 PAYIADJ 0.00 0.00 0.00 0.00
NET 4,154.70 115.47 9.53 1,279.70
COST CHG 64,00 6.00 0.00 64.00
PAYIADS 0.00 8,06 0.00 0.00
NET 64.00 0.00 0.00 64,00
TOTAL CHG §,083.73 501.97 41.42 5,627.12
PAY 0.00 0.00 0.06 6,00

NET 5,083.73 501.97 41420 5,627.12

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UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: Lionel C. Shaw : Chapter 13
Debtor : Bky. No. 23-12827-djb
* * * * * * *

CERTIFICATION OF SERVICE

Desc Main

I, Stephen V. Bottiglieri, certify that on April 1, 2025, I did cause a true and correct copy of the
documents described below to be served on the parties listed on the mailing list exhibit, a copy of
which is attached and incorporated as if fully set forth herein, by the means indicated and to all parties

registered with the Clerk to receive electronic notice via the CM/ECF system:

e Certification of Default

I certify under penalty of perjury that the above document(s) was sent using the mode of service

indicated.

Date: 4hifzez

LV, Bxthple

Toscani, Stathes & Zoeller, LLC
899 Cassatt Road, Suite 320
Berwyn, PA 19312

(610) 647-4901
sbottiglieri@tszlegal.com

iar Bottiglieri, Es. No. 87343

Mailing List Exhibit: (Check all that apply. If via e-mail, include e-mail address. Continue to the next

page if necessary.)

Name: Lionel C. Shaw
Address: 1218 Angora Drive, Yeadon, PA 19050
Relationship of Party: Debtor
Via: CM/ECF X Ist Class Mail Certified Mail e-mail:
Other:

Name: Stephanie Tindley
Address: 1218 Angora Drive, Yeadon, PA 19050
Relationship of Party: Non-filing Co-Owner/Co-Debtor
Via: CM/ECF X Ist Class Mail Certified Mail e-mail:
Other:
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Mailing List Exhibit: (Check all that DOP Unie rit, e-nhAO Enel Qhe e-mail address. Continue to the next
page if necessary.)

Name: Kenneth E. West, Esquire
Address: 190 N. Independence Mall West, Suite 701, Philadelphia, PA 19106
Relationship of Party: Chapter 13 Standing Trustee
Via: X CM/ECF Ist Class Mail Certified Mail e-mail:
Other:

Name: Office of the United States Trustee
Address: Robert N.C. Nix Federal Building, 900 Market Street, Suite 320, Philadelphia, PA 19107
Relationship of Party: United States Trustee
Via: X CM/ECF lst Class Mail Certified Mail e-mail:
Other:

Name:Brad J. Sadek, Esquire
Address: 1500 JFK Blvd, Ste 220, Philadelphia, PA 19102
Relationship of Party: Attorney for Debtor

Via: X CM/ECF Ist Class Mail Certified Mail e-mail:
Other:

Name

Address

Relationship of Party

Via: CM/ECF Ist Class Mail Certified Mail e-mail:
Other:

Name

Address

Relationship of Party

Via: CM/ECF ist Class Mail Certified Mail e-mail:

Other:
